                                                       EXHIBIT A
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 1 of 63 - Page ID#: 6
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 2 of 63 - Page ID#: 7
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 3 of 63 - Page ID#: 8
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 4 of 63 - Page ID#: 9
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 5 of 63 - Page ID#: 10
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 6 of 63 - Page ID#: 11
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 7 of 63 - Page ID#: 12
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 8 of 63 - Page ID#: 13
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 9 of 63 - Page ID#: 14
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 10 of 63 - Page ID#: 15
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 11 of 63 - Page ID#: 16
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 12 of 63 - Page ID#: 17
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 13 of 63 - Page ID#: 18
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 14 of 63 - Page ID#: 19
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 15 of 63 - Page ID#: 20
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 16 of 63 - Page ID#: 21
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 17 of 63 - Page ID#: 22
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 18 of 63 - Page ID#: 23
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 19 of 63 - Page ID#: 24
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 20 of 63 - Page ID#: 25
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 21 of 63 - Page ID#: 26
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 22 of 63 - Page ID#: 27
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 23 of 63 - Page ID#: 28
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 24 of 63 - Page ID#: 29
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 25 of 63 - Page ID#: 30
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 26 of 63 - Page ID#: 31
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 27 of 63 - Page ID#: 32
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 28 of 63 - Page ID#: 33
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 29 of 63 - Page ID#: 34
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 30 of 63 - Page ID#: 35
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 31 of 63 - Page ID#: 36
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 32 of 63 - Page ID#: 37
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 33 of 63 - Page ID#: 38
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 34 of 63 - Page ID#: 39
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 35 of 63 - Page ID#: 40
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 36 of 63 - Page ID#: 41
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 37 of 63 - Page ID#: 42
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 38 of 63 - Page ID#: 43
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 39 of 63 - Page ID#: 44
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 40 of 63 - Page ID#: 45
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 41 of 63 - Page ID#: 46
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 42 of 63 - Page ID#: 47
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 43 of 63 - Page ID#: 48
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 44 of 63 - Page ID#: 49
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 45 of 63 - Page ID#: 50
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 46 of 63 - Page ID#: 51
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 47 of 63 - Page ID#: 52
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 48 of 63 - Page ID#: 53
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 49 of 63 - Page ID#: 54
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 50 of 63 - Page ID#: 55
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 51 of 63 - Page ID#: 56
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 52 of 63 - Page ID#: 57
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 53 of 63 - Page ID#: 58
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 54 of 63 - Page ID#: 59
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 55 of 63 - Page ID#: 60
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 56 of 63 - Page ID#: 61
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 57 of 63 - Page ID#: 62
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 58 of 63 - Page ID#: 63
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 59 of 63 - Page ID#: 64
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 60 of 63 - Page ID#: 65
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 61 of 63 - Page ID#: 66
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 62 of 63 - Page ID#: 67
Case: 5:16-cv-00014-JMH Doc #: 1-1 Filed: 01/14/16 Page: 63 of 63 - Page ID#: 68
